         Case 6:22-cv-01460-AN       Document 115       Filed 10/01/24    Page 1 of 3




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Attorneys for Plaintiffs

                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                  PORTLAND DIVISION

DISABILITY RIGHTS OREGON;
METROPOLITAN PUBLIC DEFENDERS
INCORPORATED; and A.J. MADISON,                   Case No.: 3:02-cv-00339-AN (Lead Case)

               Plaintiffs,
v.
                                                  DECLARATION OF ERIC J. NEIMAN IN
SEJAL HATHI, in her official capacity as          SUPPORT OF UNOPPOSED MOTION
Director of Oregon Health Authority; and          FOR LEAVE TO FILE SECOND
SARA WALKER, in her official capacity as          AMENDED COMPLAINT
Superintendent of the Oregon State Hospital,

               Defendants,

and

 DECLARATION OF ERIC J.        EPSTEIN BECKER & GREEN, P.C.      STOEL RIVES LLP
 NEIMAN IN SUPPORT OF          1050 SW 6th Ave., Ste. 1530       760 SW Ninth Avenue, Suite 3000
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 AMENDED COMPLAINT             503.343.6476
 Page 1
        Case 6:22-cv-01460-AN        Document 115       Filed 10/01/24    Page 2 of 3




LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY
HEALTH SYSTEM; PEACEHEALTH; and
PROVIDENCE HEALTH & SERVICES –
OREGON,
          Intervenors.
JAROD BOWMAN; and JOSHAWN
DOUGLAS SIMPSON,                                  Case No.: 3:21-cv-01637-AN (Member Case)
              Plaintiffs,
v.

SARA WALKER, Superintendent of the
Oregon State Hospital, in her individual and
official capacity; SEJAL HATHI, Director of
the Oregon Health Authority, in her individual
and official capacity,

              Defendants,
and

LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY
HEALTH SYSTEM; PEACEHEALTH; and
PROVIDENCE HEALTH & SERVICES –
OREGON,
          Intervenors.

LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER                  Case No.: 6:22-cv-01460-AN (Member Case)
FOR BEHAVIORAL HEALTH; LEGACY
HEALTH SYSTEM; PEACEHEALTH;
PROVIDENCE HEALTH & SERVICES –
OREGON; and ST. CHARLES HEALTH
SYSTEM,

              Plaintiffs,
v.


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 Page 2
         Case 6:22-cv-01460-AN         Document 115        Filed 10/01/24       Page 3 of 3




SEJAL HATHI, in her official capacity as
Director of Oregon Health Authority,

               Defendant.


       I, Eric J. Neiman, hereby declare as follows:

       1.      I am one of the attorneys for Plaintiffs in this case. I make this declaration based

on personal knowledge.

       2.      Attached as Exhibit 1 are two emails from counsel for Defendant on September

19 and 30, 2024, which provide written consent to the filing of the Second Amended Complaint.

       3.      Attached as Exhibit 2 is a copy of the proposed Second Amended Complaint.

       4.      Attached as Exhibit 3 is a redline showing the differences between the operative

Complaint and the proposed Second Amended Complaint.

       I hereby declare that the above statement is true to the best of my knowledge and belief,

and that I understand it is made for use as evidence in court and is subject to penalty for perjury.

       DATED: October 1, 2024.




                                              s/ Eric J. Neiman, OSB No. 823513
                                              Eric J. Neiman, OSB No. 823513




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 Page 3
